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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


THE UNITED STATES OF AMERICA,

               v.
                                                            Case No. 22-cr-0299-CKK
DONALD CHILCOAT et al

                      Defendant.



                                NOTICE OF APPEARANCE

       Please Take Notice that the above-named Defendant, Donald Chilcoat, has retained The

McBride Law Firm, PLLC, to represent him in the above-captioned matter and respectfully

demands all papers in this action be served upon the undersigned at the following post office

address: The McBride Law Firm, PLLC, P.O. Box 160296, Brooklyn, NY 11216, and/or by

email at jmcbride@mcbridelawnyc.com.


Dated: Brooklyn, New York
       April 15, 2024                               Respectfully Submitted,

                                                    /s/ Joseph D. McBride, Esq.
                                                    99 Park Avenue
                                                    8th Floor
                                                    New York, NY 10016
                                                    p: (917) 757-9537
                                                    e: jmcbride@mcbridelawnyc.com
